Case 6:17-cV-00278-.]A-KRS Document 29 Filed 05/04/17 Page 1 of 1 Page|D 499

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

CASE NO.: 6:] 7-cv-278-Ori-28KRS
ABDULLAH RABBAT,

Plaintiff,
vs.

COVINGTON SPECIALTY INSURANCE
COMPANY,

Defendant.
/

AMENDED NOTICE OF MEDIATION
gas to date!

PLEASE TAKE NOTICE that the mediation in the above-Captioned matter has been scheduied for:

DATE: July 25, 2017
TIME: 10:00 a.m.
PLACE: Upchurch Watson White & Max

1060 Maitland Center Commons, Suite 440, Maitland, FL

MEDIATOR: Kimberly Sands

DATED this 4‘h day of May ,2017.

 

/s/Kim Sands

Mediator #14737R

Upchurch Watson White & Max

1060 Maitiand Center Commons, Suite 440
Maitiand, FL 32751

407-661-1123 phone 407-661-5743 facsimile

CERTIFICATE OF SERVICE

Ihereby cenifytliat on 05/04/2017 acopy of the above was Sent via Electronic Mail to: Asher
Perhn, Esquire, aperlin@flplg.com; jschumaker@f]plg.com; eserviee@fiplg.com; William R. Lewis_,
Esquire, wlewis@butler.legal; eservice@butler.legal;Yemii Aragon, Esquire, yaragon@f`lplg.com;
jschumaker@fiplg.com; eservice@flplg.com; Christopher Ramey, Esquire, cramey@butler.legal;
lfarrell@butler.legal; eservice@butler.lega!.

